                       EXHIBIT O




Case 1:23-cv-00878-TDS-JEP Document 56-15 Filed 01/31/24 Page 1 of 2
From:                      Cleta Mitchell <cleta@cletamitchell.com>
Sent:                      Monday, January 29, 2024 1:03 PM
To:                        Ramirez, Geneva
Cc:                        Dockterman, Michael
Subject:                   [EXTERNAL] RE: Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23-cv-00878-TDS-
                           JEP - Subpoena for Documents


I did not receive any such documents and have not signed any certified mail receipt for any such documents.

Cleta Mitchell, Esq.
Senior Legal Fellow
Conserva ve Partnership Ins tute
(202) 431‐1950
cleta@cletamitchell.com

From: Ramirez, Geneva <gramirez@Steptoe.com>
Sent: Monday, January 29, 2024 12:40 PM
To: Cleta Mitchell <cleta@cletamitchell.com>
Cc: Dockterman, Michael <mdockterman@Steptoe.com>
Subject: Democracy North Carolina et al. v. Alan Hirsch et al., Case No. 1:23‐cv‐00878‐TDS‐JEP ‐ Subpoena for
Documents

Ms. Mitchell:

Please find attached a copy of the subpoena for documents that was served upon you in the above‐referenced matter
on January 2, 2024, by Certified Mail. Please acknowledge receipt and advise whether you are represented by counsel in
this matter.

Best regards,

Geneva Ramirez
Associate

Steptoe
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